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EXHIBIT 3
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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: NATIONAL FOOTBALL LEAGUE No. 2:12-md-02323-AB
PLAYERS’ CONCUSSION INJURY
LITIGATION MDL No. 2323

THIS DOCUMENT RELATES TO: Hon. Anita B. Brody

Holt et al. v. NFL et al., 12-4185

ORDER
AND NOW, on this 7th ___ day of March, 2016, it is ORDERED that the Motion to
Withdraw as Counsel for Plaintiffs Rickey Dixon and Lorraine Dixon filed by Charles S.
Zimmerman, J. Gordon Rudd, Jr., and Brian C. Gudmundson of Zimmerman Reed, P.L.L.P.
(ECF No. 6696)' is GRANTED?

s/Anita B. Brody

Anita B. Brody
United States District Court Judge

Copies VIA ECF on to: Copies MAILED on to:

1 This motion was also filed as ECF No. 167 in Holt et al. v. National Football League, et al., No. 12-4185.

2 Rickey and Lorraine Dixon may proceed pro se in this action. If Lorraine Dixon wishes to represent Rickey Dixon
as his attorney, however, she must meet the requirements for pro hac vice admission set forth in Paragraph 14 of
this Court’s March 6, 2012 Case Management Order, See ECF No. 4, Case No. 12-md-2323.

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